 1   EILEEN R. RIDLEY (SBN 151735)                ROBERT L. TEEL (SBN 127081)
       eridley@foley.com                            lawoffice@rlteel.com
 2
     ALAN R. OUELLETTE (SBN 272745)               LAW OFFICE OF ROBERT L. TEEL
 3     aouellette@foley.com                       1425 Broadway, Mail Code: 20-6690
     FOLEY & LARDNER LLP                          Seattle, Washington 98122
 4   555 California Street, Suite 1700            T: 866.833.5529 // F: 855.609.6911
     San Francisco, CA 94104-1520
 5   T: 415.434.4484 // F: 415.434.4507
 6
     NICHOLAS J. FOX (SBN 279577)                 GEOFFREY M. RAUX (pro hac vice)
 7      nfox@foley.com                              graux@foley.com
     FOLEY & LARDNER LLP                          FOLEY & LARDNER LLP
 8   11988 El Camino Real, Suite 400              111 Huntington Avenue
     San Diego, CA 92130                          Boston, MA 02199-7610
 9                                                T: 617.342.4000 // F: 617.342.4001
     T: 858.847.6700 // F: 858.792.6773
10

11   Attorneys for Plaintiffs SYLVESTER OWINO,
     JONATHAN GOMEZ, and the Proposed Class(es)
12

13                         UNITED STATES DISTRICT COURT

14                      SOUTHERN DISTRICT OF CALIFORNIA

15
   SYLVESTER OWINO and JONATHAN               )   Case No. 3:17-CV-01112-JLS-NLS
16 GOMEZ,    on behalf of themselves and all  )
   others similarly situated,                 )
17                              Plaintiffs,   )   CLASS ACTION
                                              )
18              vs.                           )
                                              )   JOINT STATUS REPORT
19   CORECIVIC, INC.,                         )
                                              )
20                                Defendant. )
                                              )
21                                            )
     CORECIVIC, INC.,                         )   Judge: Hon. Janis L. Sammartino
22
                           Counter-Claimant, ))   Magistrate: Hon. Nita L. Stormes
23                                            )
                                              )
24                vs.                         )
                                              )
25   SYLVESTER OWINO and JONATHAN )
     GOMEZ, on behalf of themselves and all )
26   others similarly situated,               )
27                       Counter-Defendants. ))
                                              )
28


                                                           Case No. 17-CV-01112-JLS-NLS
 1         Pursuant to the Court’s Order: (1) Denying Without Prejudice Plaintiffs’ Motion For
 2   Partial Summary Judgment, (2) Denying Defendant’s Motion For Judgment On The
 3   Pleadings, (3) Denying As Moot Plaintiffs’ Motion To Exclude, and (4) Granting In Part
 4   And Denying In Part Plaintiffs’ Motion For Class Certification (ECF No. 179) (the
 5   “Order”), Plaintiffs Sylvester Owino and Jonathan Gomez (“Plaintiffs”) and Defendant
 6   CoreCivic, Inc. (“Defendant”) submit this Joint Status Report regarding the status of this
 7   litigation and their anticipated next steps. This Joint Status Report follows the parties’
 8   telephonic meet and confer on April 13, 2020.
 9   I.    PLAINTIFFS’ STATEMENT
10         A.     Estimate For Completion Of Discovery And Trial Readiness
11         Plaintiffs intend to diligently prosecute their claims on behalf of the Certified
12   Classes. This action has been pending since May 31, 2017, and Plaintiffs believe that this
13   matter should be set for trial. Accounting for the impact of the COVID-19 public
14   emergency, Plaintiffs estimate that all non-expert discovery will be complete by February
15   2021 and that this case will be ready for trial by June 1, 2021. Plaintiffs request that the
16   Court set case management, discovery and trial deadlines as soon as practicable.
17         B.     Discovery
18         With respect to discovery, Judge Stormes set a deadline of June 1, 2020 for the
19   parties to submit a discovery dispute deadline concerning various discovery issues,
20   including any remaining disputes regarding ESI custodians and search terms (ECF No.
21   131). Plaintiffs will continue to meet and confer with Defendant in an effort to reach
22   agreement on all discovery issues subject to the June 1, 2020 deadline as expeditiously as
23   possible.
24         In addition, Plaintiffs have informed Defendant that they are seeking detainee files
25   and disciplinary records for the class members, among other categories of responsive and
26   relevant documents. Plaintiffs’ prior discovery requests encompassed these documents,
27   but Defendant only produced a limited subset of responsive documents and agreed to
28   determine the scope of future productions after the Court ruled on Plaintiffs’ motion for


                                               -1-           Case No. 17-CV-01112-JLS-NLS
 1   class certification. Given that the Court has certified California-specific classes and a
 2   national class, Plaintiffs seek a complete production of records from Defendant from all
 3   CoreCivic facilities for the entire class periods, including the following:
 4        All disciplinary records for the class members;
 5        All detainee files1 for the class members; and
 6        All policies and procedures not previously produced.
 7          Defendant agrees with the relevance of the categories of information sought. During
 8 the April 13, 2020 meet and confer call, Defendant also stated that it does not believe that

 9 discovery should ramp up until after the resolution of Defendant’s anticipated motion for

10   reconsideration and petition for interlocutory appeal (which is discussed further below).
11   Plaintiffs disagree with this position and believe that Defendant should comply with its
12   discovery obligations without delay, including the collection and production of responsive
13   and relevant documents. Plaintiffs will meet and confer with Defendant in an attempt to
14   arrive at a mutually agreeable deadline for the production of complete records, but believe
15   that such a deadline should be within a matter of 2-3 months.
16          Plaintiffs will also meet and confer with Defendant to ensure that Defendant
17   produces documents identifying all class members and their last known addresses and
18   contact information. This includes the need for Defendant to update previously produced
19   documents to identify all class members during the relevant class periods (which run
20   through the present).
21          Plaintiffs will begin additional deposition discovery as soon as the current stay at
22   home orders are lifted.
23          C.    Plaintiffs’ Counsel’s Access To Detained Class Members
24          Plaintiffs have informed Defendant of their intent to determine a procedure under
25   which (1) class members that are currently detained at a CoreCivic facility are notified of
26

27
     1
       Defendant’s suggestion that they do not know what documents constitute a “detainee
28   file” is belied by the testimony of Defendant’s Rule 30(b)(6) witness, Jason Ellis (and
     other CoreCivic witnesses), who testified that Defendant maintains a “detainee file” for
     every ICE detainee detained at Defendant’s facilities.
                                               -2-          Case No. 17-CV-01112-JLS-NLS
 1   their membership in the class(es), and (2) class counsel be granted access to currently
 2   detained class members. This is consistent with the guidance provided by the Court at the
 3   December 19, 2019 hearing on the motions subject to the Order. Plaintiffs will propose a
 4   specific method for notification and access to class members that are presently detained to
 5   Defendant.
 6          D.    Plaintiffs’ Motion For Partial Summary Judgment
 7          Plaintiffs informed Defendant that they are considering filing a renewed Motion for
 8   Partial Summary Judgment, which was denied without prejudice in the Order. Plaintiffs
 9   requested that Defendant identify the specific discovery that it believes is “essential to
10   oppose summary judgment” so that the parties’ can complete any “essential” discovery as
11   efficiently as possible prior to Plaintiffs filing a renewed Motion. Defendant was not in a
12   position during the April 13, 2020 meet and confer discussion to identify such discovery
13   and, to date, has not identified any “essential” discovery needed to oppose Plaintiffs’
14 Motion for Partial Summary Judgment.

15          Plaintiffs also oppose Defendant’s request for the Court to issue an order providing
16 that the parties are limited to filing one dispositive motion after the close of fact discovery

17 (which Defendant did not raise and the parties did not discuss on their meet and confer

18 call).   Such an atypical limitation would be unwarranted here, particularly given that
19 discrete legal issues exist that can be adjudicated at this time based on undisputed material

20 facts concerning Defendant’s operations. As Plaintiffs explained to Defendant on the April

21 13, 2020 meet and confer call, an adjudication of the legal issue of whether certain ICE

22 detainees were “employees” of Defendant under California law would significantly

23 advance the resolution of this case and conserve both the parties’ and Court’s resources if

24 the Court determines that there is no genuine dispute of material fact that would preclude

25 the adjudication of a discrete legal issue.

26          E.    Defendant’s Motion For Reconsideration And Petition For
27                Interlocutory Appeal
28          Defendant informed Plaintiffs of its intent to file a motion for reconsideration of the


                                                 -3-          Case No. 17-CV-01112-JLS-NLS
 1   Order and to seek interlocutory appeal of the Order. Plaintiffs will oppose both and will
 2   also oppose any request for a stay by Defendant in conjunction with the same.
 3         F.     Settlement And ADR
 4         Plaintiffs inquired if Defendant is interested in participating in settlement
 5   discussions at this time. Defendant declined to participate in settlement discussions.
 6   Plaintiffs are amenable to participating in settlement discussions or any ADR-procedures
 7   ordered by the Court, including mediation and/or an Early Neutral Evaluation.
 8   II.   DEFENDANT’S STATEMENT
 9         A.     Relief From The Order Granting Class Certification
10         Defendant will be filing a Motion for Reconsideration challenging the Court’s
11   certification of the California Forced Labor Class, the National Forced Labor Class, and
12   the California Labor Law Class on the same date this Joint Status Report is filed.
13   Depending on the outcome of that Motion, Defendant intends to raise those and other issues
14   in a Rule 23(f) Petition to the Ninth Circuit.
15         B.      Discovery And Related Deadlines
16         Because the Motion for Reconsideration and Rule 23(f) Petition, if granted, would
17   substantially narrow the scope of necessary merits discovery, Defendant requests that such
18   discovery be stayed pending their resolution. This will allow the parties and the Court (to
19   the extent it must resolve discovery disputes) to avoid the unnecessary waste of time and
20   resources, as the National Forced Labor Class includes over 1.1 million detainees, for
21   whom Plaintiffs have requested complete “detainee files.”2 At a conservative estimate of
22   50 pages per file, production of just the “detainee files” (a term Plaintiffs have not defined,
23   and which could therefore theoretically include much more than 50 pages per file), this
24

25
     2
     During the April 13, 2020 telephonic meet and confer, counsel for Defendants
26
   acknowledged that certain disciplinary records and policies and procedures are relevant
27 and that the parties would need to work out how to go about producing them. As noted here
   and in Defendant’s response to Plaintiffs’ Second Set of Requests for Production,
28
   Defendant does not concede the relevance of the complete “detainee files,” and did not do
   so during the meet and confer.
                                             -4-          Case No. 17-CV-01112-JLS-NLS
 1   would require Defendant to produce nearly 57,000,000 pages of documents. Requiring
 2   Defendant to begin doing so while the class definitions at issue remain in flux would
 3   impose an unnecessary and disproportionate burden on Defendant in violation of Rule
 4   26(b)(1). This is particularly true where, as here, Plaintiffs have not identified the
 5   documents they believe constitute the “detainee file,” and have not provided any
 6   explanation as to the necessity of producing each and every file in its entirety or made any
 7   showing as to the importance of the files to resolving the issues in this matter or that the
 8   likely benefit of producing the files outweighs the burden and/or expense of doing so. For
 9   these reasons, as well as the current pandemic that limits both sides’ ability to conduct
10   discovery, the Court should stay any further discovery in this matter until the Motion for
11   Reconsideration and Rule 23(f) Petition are resolved.3, 4
12         Plaintiffs’ proposed timeline for merits discovery (once it begins) is untenable, and
13 would be even without the current pandemic and its associated disruptions. As set forth

14 above, production of just the detainee files would be impossible to complete by February

15 2021, even if the Motion for Reconsideration and Rule 23(f) Petition had already been

16 resolved, given that the files must be gathered, reviewed, and produced from over 20

17 facilities spread across the country, many of which have likely been placed in off-site

18 storage to the extent they still exist at all.5 Plaintiffs’ belief that the production could be

19   completed in 2-3 months is unrealistic, especially given that the parties will need to engage
20   in additional discovery beyond mere production of detainee files, including written
21   discovery and depositions on both sides, which Plaintiffs acknowledge. Defendant
22

23
     3
       This includes any discovery that is the subject of Judge Stormes’s August 19, 2019 Order.
24
     (Doc. 131.)
     4
25     Defendant disputes Plaintiffs’ characterization of its previous productions as “only … a
     limited subset of responsive documents,” as Defendant has produced 103,855 pages of
26
     Bates-numbered images. Of those, Defendant has produced 412 native files such as
27   detainee rosters and disciplinary logs, each with a single Bates number, but that, if printed,
     would yield an additional 321,507 pages of information. Nevertheless, Defendant
28
     acknowledges that much remains to be done with respect to discovery—on both sides.
     5
       Defendant’s standard records retention period is three years.
                                                 -5-           Case No. 17-CV-01112-JLS-NLS
 1   estimates the parties will need at least 12 months to complete merits discovery once it
 2   begins, and possibly as much as 18-24 months.6
 3         Plaintiffs’ belief that this matter will be ready for trial by June 1, 2021 ignores the
 4   reality and logistics of the claims they seek to bring to trial, which encompass more than
 5   20 facilities nationwide and seek redress for alleged injuries that occurred as long as 14
 6   years ago. It also fails to account for dispositive motion briefing, which both sides will
 7   undoubtedly want to engage in. Indeed, Plaintiffs have already stated they intend to re-file
 8   their Motion for Partial Summary Judgment (“MPSJ”) on the issue of whether Defendant
 9   employs(ed) detainees who participate(d) in the Voluntary Work Program. Defendant
10   requests that any Scheduling or Case Management Order the Court issues in this matter
11   limit each side to one dispositive motion, to be filed after the completion of discovery.
12   Although Plaintiffs note that Defendant was “not in a position during the April 13, 2020
13 meet and confer discussion to identify” the discovery it would need in order to respond to

14 the MPSJ, Plaintiffs similarly were unable to articulate any reasons why the issues raised

15 in that motion need to be resolved now, and cannot wait until discovery is complete.7 Even

16 now, Plaintiffs offer only vague generalities that early resolution of the MPSJ would

17 advance the case and conserve resources, without explaining how. Resolution of whether

18 Defendant employed Plaintiffs will not terminate the litigation, or even litigation regarding

19 the claims asserted by the California Labor Law Class, as that is but one of many issues

20 that must be resolved in order to fully resolve those claims, including the applicability of

21 Defendant’s affirmative defenses, including but not limited to derivative sovereign

22 immunity and intergovernmental immunity.

23         C.     Settlement And ADR
24         Plaintiffs correctly state that Defendant is not interested in participating in settlement
25
     6
26   In addition to discovery from Plaintiffs, Defendant will need to seek written discovery
   from and/or depositions of ICE personnel, which will require Toughy requests to ICE to
27
   get approval for ICE personnel to respond. In Defendant’s experience, such requests can
28 take up to six months to get a response.
   7
     Clearly, the parties discussed the MPSJ during the April 13, 2020 telephonic meet and
   confer.
                                             -6-          Case No. 17-CV-01112-JLS-NLS
 1   discussions at this time, such that there is no need to order mediation or any other
 2   alternative dispute resolution procedures. Nevertheless, should the Court do so, Defendant
 3   will participate in good faith.
 4   DATED: April 15, 2020                   FOLEY & LARDNER LLP
                                             Eileen R. Ridley
 5
                                             Geoffrey Raux
 6                                           Nicholas J. Fox
                                             Alan R. Ouellette
 7

 8

 9                                           /s/ Eileen R. Ridley
                                             Eileen R. Ridley
10                                           Attorneys for Plaintiffs SYLVESTER OWINO,
11                                           JONATHAN GOMEZ, and the Proposed
                                             Class(es)
12

13                                           LAW OFFICE OF ROBERT L. TEEL
                                             Robert L. Teel
14
                                              lawoffice@rlteel.com
15                                           1425 Broadway, Mail Code: 20-6690
                                             Seattle, Washington 98122
16                                           Telephone: (866) 833-5529
                                             Facsimile: (855) 609-6911
17

18                                           Attorneys for Plaintiffs SYLVESTER OWINO,
                                             JONATHAN GOMEZ, and the Proposed
19                                           Class(es)
20

21

22

23

24

25

26

27

28


                                              -7-           Case No. 17-CV-01112-JLS-NLS
 1   DATED: April 15, 2020    STRUCK LOVE BOJANOWSKI &
                              ACEDO, PLC
 2                            Daniel P. Struck
                              Rachel Love
 3                            Nicholas D. Acedo
                              Ashlee B. Hesman
 4                            Jacob B. Lee
 5

 6

 7                            /s/ Jacob B. Lee
                              Jacob B. Lee
 8
                              LAW OFFICE OF ETHAN H. NELSON
 9                            Ethan H. Nelson
10                            Attorneys for DEFENDANT/COUNTER-
                              CLAIMANT CORECIVIC, INC.
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                             -8-          Case No. 17-CV-01112-JLS-NLS
 1                              CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above and
 3   foregoing document has been served on April 15, 2020, to all counsel of record who are
 4   deemed to have consented to electronic service via the Court’s CM/ECF system per Civil
 5   Local Rule 5.4.
 6
                                           /s/ Eileen R. Ridley
 7
                                           Eileen R. Ridley
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                            -9-           Case No. 17-CV-01112-JLS-NLS
